             THE UNITED STATES DISTRICT COURT
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION
                CIVIL CASE NO. 1:18-cv-00007-MR


TERI LYNN HINKLE,                )
                                 )
                   Plaintiff,    )
                                 )
         vs.                     )            ORDER
                                 )
                                 )
EXPERIAN INFORMATION             )
SOLUTIONS, INC.,                 )
                                 )
                   Defendants.   )
________________________________ )


     THIS MATTER is before the Court sua sponte.

     On September 25, 2018, the Court entered an Order accepting the

Magistrate Judge’s recommendation that the Motion to Dismiss filed by

Defendants Equifax, Inc. and Equifax Information Services, LLC should be

denied. [Doc. 57]. These Defendants had fourteen (14) days after the entry

of this Order to answer the Plaintiff’s Amended Complaint. See Fed. R. Civ.

P. 12(a)(4)(A). As of the date of this Order, however, the Defendants have

yet to file answers, and the Plaintiff appears to have made no effort to

prosecute this action further against these Defendants.




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      Accordingly, IT IS, THEREFORE, ORDERED that within fourteen (14)

days of the entry of this Order, the Plaintiff shall file an appropriate motion or

otherwise take further action with respect to Defendants Equifax, Inc. and

Equifax Information Services, LLC. The Plaintiff is advised that failure to

take further action against these Defendants will result in the dismissal

of her claims against these Defendants.

      IT IS SO ORDERED.

                               Signed: November 6, 2018




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